                                             Case 2:19-cv-00239-GMS Document 27 Filed 10/04/19 Page 1 of 2



                                       1   Gregory B. Collins (#023158)
                                           Zach R. Fort (#031643)
                                       2
                                           KERCSMAR & FELTUS PLLC
                                       3   7150 East Camelback Road, Suite 285
                                           Scottsdale, Arizona 85251
                                       4   Telephone: (480) 421-1001
                                       5   Facsimile: (480) 421-1002
                                           gbc@kflawaz.com
                                       6   zrf@kflawaz.com
                                       7
                                           Attorneys for Plaintiff
                                       8
                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                               Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,                 NOTICE OF SERVICE OF
                                                                                           PLAINTIFF’S SECOND AMENDED
           (480) 421-1001




                                      14                                                   MANDATORY INITIAL DISCOVERY
                                           vs.                                             RESPONSES
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                      19          Plaintiff Ronald H. Pratte, by and through his attorneys of record, hereby provides

                                      20   Notice of Service of Plaintiff’s Second Amended Mandatory Initial Discovery Responses.

                                      21
                                      22          DATED this 4th day of October, 2019

                                      23
                                                                                 KERCSMAR & FELTUS PLLC
                                      24
                                      25                                     By: s/ Zach Fort
                                                                                 Gregory B. Collins
                                      26
                                                                                 Zach R. Fort
                                      27                                         7150 East Camelback Road, Suite 285
                                                                                 Scottsdale, Arizona 85251
                                      28                                         Attorneys for Plaintiff

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                                              Case 2:19-cv-00239-GMS Document 27 Filed 10/04/19 Page 2 of 2



                                       1                          CERTIFICATE OF SERVICE
                                       2        I certify that on October 4, 2019, I electronically transmitted the foregoing to the
                                       3   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                           Electronic Filing to the following:
                                       4
                                       5   Thomas M. Connelly
                                           LAW OFFICES OF THOMAS M. CONNELLY
                                       6   2425 East Camelback Road, Suite 880
                                       7   Phoenix, Arizona 85016
                                           Phone: (602) 957-1993
                                       8   Facsimile: (602) 957-2137
                                           Tconnelly2425@aol.com
                                       9
                                           Thomas J. Marlowe
                                      10   LAW OFFICES OF THOMAS J. MARLOWE
                                      11   2425 East Camelback Road, Suite 880
                                           Phoenix, Arizona 85016
7150 East Camelback Road, Suite 285




                                      12   Phone: (602) 957-1993
                                           Facsimile: (602) 957-2137
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   Tmarlowe2425@outlook.com
           (480) 421-1001




                                      14
                                           Attorneys for Defendants
                                      15
                                      16
                                           s/ Mary Ann Bautista
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